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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                     LONDON

  UNITED STATES OF AMERICA                      )
                                                )
        Plaintiff,                              )         Criminal No: 10-10-GFVT
                                                )
  V.                                            )
                                                )
  BRANDEN RAY SUTTON,                           )                ORDER
                                                )
        Defendant.
                                    ***   ***       ***   ***

         This matter is before the Court on the Recommended Disposition (also known as

  a Report and Recommendation) [R. 315] filed by United States Magistrate Judge Hanly

  A. Ingram. The Defendant, Branden Ray Sutton, is charged with four violations of his

  supervised release, including two counts of using oxycodone and, consequently, two

  counts of failing to refrain from committing another federal, state or local crime. [R. 307;

  R. 315 at 1-2.]

         On October 29, 2014, Judge Ingram conducted a final hearing and Sutton

  stipulated to the charged violations. [R. 314; R. 315 at 3.] On November 3, Judge

  Ingram issued a Report and Recommendation which recommended that Sutton’s

  supervised release be revoked and that he be imprisoned for one month with thirty-six

  months of supervised release to follow. [Id. at 7-8.] Judge Ingram appropriately

  considered the 18 U.S.C. § 3353 factors in coming to his recommended sentence. [Id. at

  3-7.] The Recommended Disposition advises the parties’ that objections must be filed

  within fourteen (14) days of service. [Id. at 8.] See 28 U.S.C. § 636(b)(1). No

  objections were filed during the relevant time period and Sutton waived his right of

  allocution. [R. 321.]

         Generally, this Court must make a de novo determination of those portions of a
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  recommended disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c).

  When no objections are made, however, this Court is not required to “review . . . a

  magistrate’s factual or legal conclusions, under a de novo or any other standard . . . .”

  Thomas v. Arn, 474 U.S. 140, 150 (1985). Parties who fail to object to a Magistrate’s

  report and recommendation are also barred from appealing a district court’s order

  adopting that report and recommendation. United States v. Walters, 638 F.2d 947 (6th

  Cir. 1981). Nevertheless, this Court has examined the record, and it agrees with the

  Magistrate Judge’s Recommended Disposition.

         Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

  follows:

         (1)     The Recommended Disposition [R. 315] as to the Defendant, Branden

  Sutton, is ADOPTED as and for the Opinion of the Court;

         (2)     Sutton is found to have violated the terms of his Supervised Release as set

  forth in the Petition filed by the U.S. Probation Office [R. 308];

         (3)     Sutton’s Supervised Release is REVOKED;

         (4)     Sutton is SENTENCED to the Custody of the Bureau of Prisons for a

  term of one (1) month with a thirty-six (36) month term of supervised release to follow

  under the conditions previously imposed and those additional conditions recommended

  by the magistrate judge;

         (5)     Sutton has WAIVED his right to allocution [R. 321]; and

         (6)     Judgment shall be entered promptly.



         This 24th day of November, 2014.
